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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


 MARK ANDREW HILDERBRAND,

                Plaintiff,                                CIVIL ACTION NO.: 6:19-cv-72

        v.

 BOBBITT, et al.,

                Defendants.


                                          ORDER

       This matter is before the Court following a telephonic status conference Plaintiff and

Defendants’ counsel attended. At the conference, the parties discussed the remaining pre-trial

deadlines. Defendants’ counsel made an oral motion to extend the dispositive motions deadline

by a week, given he is representing 10 Defendants and must also respond to Plaintiff’s pending

motion for summary judgment at the same time. Plaintiff stated he had no opposition to the

deadline extension. Thus, for good cause shown, the Court GRANTS the Motion. Dispositive

motions will be due on or before July 22, 2022.

       SO ORDERED, this 24th day of June, 2022.




                                     ____________________________________
                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
